Case 1:20-cv-03590-JEB   Document 392-1   Filed 01/16/25   Page 1 of 14




                 Exhibit A
      Case 1:20-cv-03590-JEB                 Document 392-1                   Filed 01/16/25              Page 2 of 14


From:            Mattes, Thomas
To:              Hartman, Jacob E.; Polavarapu, Aaseesh P.; Hansen, Mark C.; Paul, Ana N.; Huff, Kevin B.; Fetterman, Kenneth
                 M.; gklineberg-contact; Panner, Aaron M.; Miller, Kevin J.; Strikis, Silvija A.; Hall, Joseph S.; Horvitz, Kevin D.;
                 Parkinson, Alex A.; Mehta, Sonal; Gringer, David; "Scheinkman, Michael"; Rouhandeh, James; Marini, Ripton A.;
                 Tapkas, Jason J.; Rodriguez, Melissa; Jackson, Kathleen N.; Witebsky, David E.; Gillespie, Nataliia; Smith, Lillian
                 V.
Cc:              Dimoscato, Maria; Matheson, Daniel; Cerilli, Krisha; Galvan, Patricia V.; Widnell, Nicholas; Smith, Michael; Zuver,
                 Robert; Masters, Owen; Rashkovich, Benjamin; Goff, Karen; Miller, Noel; Brenner, Nathan; Musser, Susan;
                 Albright, Isaiah; Edmonds, Lila; Gatas Johnson, Alejandra; Hinson, Hunter; Lee, Jinwook; Murphy, Quinn; Powell,
                 Steven; Wint, Corene
Subject:         RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB
Date:            Wednesday, January 15, 2025 4:07:58 PM


Jake,

Please find attached the FTC’s initial written responses to Meta’s First Proposed Set of Joint
Stipulated Facts. As indicated last night, we are available to meet and confer with you promptly
about these responses. Let us know if there is a time you are available on Tuesday, January 21st.

We will be following up separately today to respond to the offer conveyed in your email earlier. See
Email from J. Hartman (Jan. 15, 2025, 1:26 PM).

Best,
Thomas

Thomas Mattes
Attorney, Technology Enforcement Division
Federal Trade Commission
202-297-6108 | tmattes@ftc.gov


From: Hartman, Jacob E. <jhartman@kellogghansen.com>
Sent: Wednesday, January 15, 2025 1:26 PM
To: Mattes, Thomas <tmattes@ftc.gov>; Polavarapu, Aaseesh P.
<apolavarapu@kellogghansen.com>; Hansen, Mark C. <mhansen@kellogghansen.com>; Paul, Ana
N. <apaul@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>; Fetterman, Kenneth
M. <kfetterman@kellogghansen.com>; gklineberg-contact <gklineberg@kellogghansen.com>;
Panner, Aaron M. <apanner@kellogghansen.com>; Miller, Kevin J. <kmiller@kellogghansen.com>;
Strikis, Silvija A. <sstrikis@kellogghansen.com>; Hall, Joseph S. <jhall@kellogghansen.com>; Horvitz,
Kevin D. <khorvitz@kellogghansen.com>; Parkinson, Alex A. <aparkinson@kellogghansen.com>;
Mehta, Sonal <Sonal.Mehta@wilmerhale.com>; Gringer, David <David.Gringer@wilmerhale.com>;
'Scheinkman, Michael' <michael.scheinkman@davispolk.com>; Rouhandeh, James
<rouhandeh@davispolk.com>; Marini, Ripton A. <rmarini@kellogghansen.com>; Tapkas, Jason J.
<jtapkas@kellogghansen.com>; Rodriguez, Melissa <mrodriguez@kellogghansen.com>; Jackson,
Kathleen N. <kjackson@kellogghansen.com>; Witebsky, David E. <dwitebsky@kellogghansen.com>;
Gillespie, Nataliia <ngillespie@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>
Cc: Dimoscato, Maria <mdimoscato@ftc.gov>; Matheson, Daniel <dmatheson@ftc.gov>; Cerilli,
Krisha <kcerilli@ftc.gov>; Galvan, Patricia V. <PGALVAN@ftc.gov>; Widnell, Nicholas
<nwidnell@ftc.gov>; Smith, Michael <msmith9@ftc.gov>; Zuver, Robert <rzuver@ftc.gov>; Masters,
Owen <omasters@ftc.gov>; Rashkovich, Benjamin <brashkovich@ftc.gov>; Goff, Karen
     Case 1:20-cv-03590-JEB                    Document 392-1               Filed 01/16/25           Page 3 of 14


<kgoff@ftc.gov>; Miller, Noel <nmiller2@ftc.gov>; Brenner, Nathan <nbrenner@ftc.gov>; Musser,
Susan <smusser@ftc.gov>; Albright, Isaiah <ialbright@ftc.gov>; Edmonds, Lila <ledmonds@ftc.gov>;
Gatas Johnson, Alejandra <agatasjohnson@ftc.gov>; Hinson, Hunter <hhinson@ftc.gov>; Lee,
Jinwook <jlee9@ftc.gov>; Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>;
Wint, Corene <cwint@ftc.gov>
Subject: RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Thomas,
   Meta will provide its positions regarding the 36 statements you’ve identified below on January
22 (the response date requested by the FTC in the draft JSR) on the condition that the FTC
agree to remove the issue from the JSR. If the FTC continues to insist on troubling the Court
with this issue, Meta intends to ask the Court to set a deadline of February 10 for the parties to
exchange positions on 40 or fewer proposed fact statements and will await the Court’s
guidance.

Best,
Jake

Jacob E. Hartman
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
1615 M Street, N.W. | Suite 400 | Washington, DC 20036 | (202) 326-7989


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From: Mattes, Thomas <tmattes@ftc.gov>
Sent: Tuesday, January 14, 2025 8:27 PM
To: Hartman, Jacob E. <jhartman@kellogghansen.com>; Polavarapu, Aaseesh P.
<apolavarapu@kellogghansen.com>; Hansen, Mark C. <mhansen@kellogghansen.com>; Paul, Ana
N. <apaul@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>; Fetterman, Kenneth
M. <kfetterman@kellogghansen.com>; Klineberg, Geoffrey M. <gklineberg@kellogghansen.com>;
Panner, Aaron M. <apanner@kellogghansen.com>; Miller, Kevin J. <kmiller@kellogghansen.com>;
Strikis, Silvija A. <sstrikis@kellogghansen.com>; Hall, Joseph S. <jhall@kellogghansen.com>; Horvitz,
Kevin D. <khorvitz@kellogghansen.com>; Parkinson, Alex A. <aparkinson@kellogghansen.com>;
Mehta, Sonal <Sonal.Mehta@wilmerhale.com>; Gringer, David <David.Gringer@wilmerhale.com>;
'Scheinkman, Michael' <michael.scheinkman@davispolk.com>; Rouhandeh, James
<rouhandeh@davispolk.com>; Marini, Ripton A. <rmarini@kellogghansen.com>; Tapkas, Jason J.
<jtapkas@kellogghansen.com>; Rodriguez, Melissa <mrodriguez@kellogghansen.com>; Jackson,
Kathleen N. <kjackson@kellogghansen.com>; Witebsky, David E. <dwitebsky@kellogghansen.com>;
Gillespie, Nataliia <ngillespie@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>
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Krisha <kcerilli@ftc.gov>; Galvan, Patricia V. <PGALVAN@ftc.gov>; Widnell, Nicholas
<nwidnell@ftc.gov>; Smith, Michael <msmith9@ftc.gov>; Zuver, Robert <rzuver@ftc.gov>; Masters,
    Case 1:20-cv-03590-JEB             Document 392-1          Filed 01/16/25       Page 4 of 14


Owen <omasters@ftc.gov>; Rashkovich, Benjamin <brashkovich@ftc.gov>; Goff, Karen
<kgoff@ftc.gov>; Miller, Noel <nmiller2@ftc.gov>; Brenner, Nathan <nbrenner@ftc.gov>; Musser,
Susan <smusser@ftc.gov>; Albright, Isaiah <ialbright@ftc.gov>; Edmonds, Lila <ledmonds@ftc.gov>;
Gatas Johnson, Alejandra <agatasjohnson@ftc.gov>; Hinson, Hunter <hhinson@ftc.gov>; Lee,
Jinwook <jlee9@ftc.gov>; Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>;
Wint, Corene <cwint@ftc.gov>
Subject: [EXTERNAL] RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Jake,

We disagree with Meta’s description of the FTC’s conduct. The FTC’s decision to include compound
statements in the January 13th document—which consisted of stipulations that were substantively
identical to a subset of the stipulations the FTC proposed nearly a month ago on December 18, 2024
—was informed by Meta’s own First Set of proposed facts, which includes multiple compound
statements. See, e.g., Meta’s First Set of Proposed Joint Stipulations of Fact, ¶ 4 (Jan. 8, 2025) (“In
response to the Second Request, Meta produced more than 9,000 documents—collected from
several custodians, including Mr. Zuckerberg—and Instagram produced more than 10,000
documents.”). Any misunderstanding of what was communicated or agreed upon during our
January 10th Meet & Confer was unintentional.

In the interest of moving forward, given your objections, the FTC will withdraw the January 13th
document and ask that Meta instead review the first 35 statements included in its original list, along
with our geographic market request, all of which you have had since December 18th. To be more
specific, the parties can consider the FTC’s January 2nd document (reattached here)—which reflects
the FTC’s original list with the citations you requested, plus two minor corrections—to be the
operative set of FTC requests. And we request a response on the geographic market stipulation.

As for Meta’s requests, the FTC will provide its positions on Meta’s First Set of proposed facts in
writing tomorrow, one week after receiving Meta’s proposals on January 8th, and we will be
available to meet and confer promptly if you would like to discuss our responses.

Best,
Thomas

Thomas Mattes
Attorney, Technology Enforcement Division
Federal Trade Commission
202-297-6108 | tmattes@ftc.gov


From: Hartman, Jacob E. <jhartman@kellogghansen.com>
Sent: Tuesday, January 14, 2025 6:04 PM
To: Mattes, Thomas <tmattes@ftc.gov>; Polavarapu, Aaseesh P.
<apolavarapu@kellogghansen.com>; Hansen, Mark C. <mhansen@kellogghansen.com>; Paul, Ana
N. <apaul@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>; Fetterman, Kenneth
     Case 1:20-cv-03590-JEB                    Document 392-1               Filed 01/16/25           Page 5 of 14


M. <kfetterman@kellogghansen.com>; gklineberg-contact <gklineberg@kellogghansen.com>;
Panner, Aaron M. <apanner@kellogghansen.com>; Miller, Kevin J. <kmiller@kellogghansen.com>;
Strikis, Silvija A. <sstrikis@kellogghansen.com>; Hall, Joseph S. <jhall@kellogghansen.com>; Horvitz,
Kevin D. <khorvitz@kellogghansen.com>; Parkinson, Alex A. <aparkinson@kellogghansen.com>;
Mehta, Sonal <Sonal.Mehta@wilmerhale.com>; Gringer, David <David.Gringer@wilmerhale.com>;
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<rouhandeh@davispolk.com>; Marini, Ripton A. <rmarini@kellogghansen.com>; Tapkas, Jason J.
<jtapkas@kellogghansen.com>; Rodriguez, Melissa <mrodriguez@kellogghansen.com>; Jackson,
Kathleen N. <kjackson@kellogghansen.com>; Witebsky, David E. <dwitebsky@kellogghansen.com>;
Gillespie, Nataliia <ngillespie@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>
Cc: Dimoscato, Maria <mdimoscato@ftc.gov>; Matheson, Daniel <dmatheson@ftc.gov>; Cerilli,
Krisha <kcerilli@ftc.gov>; Galvan, Patricia V. <PGALVAN@ftc.gov>; Widnell, Nicholas
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Gatas Johnson, Alejandra <agatasjohnson@ftc.gov>; Hinson, Hunter <hhinson@ftc.gov>; Lee,
Jinwook <jlee9@ftc.gov>; Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>;
Wint, Corene <cwint@ftc.gov>
Subject: RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Thomas,
    In our conversation last week, Meta agreed to engage with the FTC on joint stipulated facts if
the FTC selected a significantly smaller number of proposed facts. Based on your email of
Friday, January 10, we understood that the FTC to agree to that approach such that the parties
could proceed in good faith. Neither the FTC’s decision to insist to the Court that Meta be
forced to respond to all 106 of the FTC’s requests, nor its decision to simply aggregate the
majority of the facts from its January 3 list into renumbered compound sentences, suggest
that the FTC has any intention of engaging in this process in good faith. We intend to apprise
the Court accordingly. If instead the FTC would prefer to reconsider its approach, Meta
remains willing to proceed as discussed on the meet and confer, provided that the FTC
identifies no more than 36 facts from its January 3 list, for which Meta will provide a position at
the same time the FTC provides its positions on Meta’s proposed facts. We would also expect
the FTC to remove this issue from the JSR.

Best,
Jake

Jacob E. Hartman
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
1615 M Street, N.W. | Suite 400 | Washington, DC 20036 | (202) 326-7989


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     Case 1:20-cv-03590-JEB                   Document 392-1              Filed 01/16/25           Page 6 of 14


sender immediately via reply e-mail, and then destroy all instances of this communication. Thank you.


From: Mattes, Thomas <tmattes@ftc.gov>
Sent: Monday, January 13, 2025 2:30 PM
To: Hartman, Jacob E. <jhartman@kellogghansen.com>; Polavarapu, Aaseesh P.
<apolavarapu@kellogghansen.com>; Hansen, Mark C. <mhansen@kellogghansen.com>; Paul, Ana
N. <apaul@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>; Fetterman, Kenneth
M. <kfetterman@kellogghansen.com>; Klineberg, Geoffrey M. <gklineberg@kellogghansen.com>;
Panner, Aaron M. <apanner@kellogghansen.com>; Miller, Kevin J. <kmiller@kellogghansen.com>;
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<jtapkas@kellogghansen.com>; Rodriguez, Melissa <mrodriguez@kellogghansen.com>; Jackson,
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Gillespie, Nataliia <ngillespie@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>
Cc: Dimoscato, Maria <mdimoscato@ftc.gov>; Matheson, Daniel <dmatheson@ftc.gov>; Cerilli,
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Jinwook <jlee9@ftc.gov>; Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>;
Wint, Corene <cwint@ftc.gov>
Subject: [EXTERNAL] RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Jake,

Pursuant to our Friday email, pleased find attached the FTC’s narrowed and revised First Proposed
Set of Joint Stipulated Facts. To be clear, however, the FTC continues to disagree that the initial First
Set—a document totaling little more than 3,000 words, including caption and citations—imposed an
unreasonable burden upon Meta.

As will be communicated separately today, in the Joint Status Report due January 16th, the FTC
intends to affirmatively ask the Court to order Meta to respond to our entire First Set of 106
proposed stipulations, including our request for a stipulation regarding geographic market, in writing
by January 22nd. In the interim, we have provided this narrowed and revised set of 36 proposed
stipulations to prevent Meta’s intransigence from delaying this process any further than it has
already been unjustifiably delayed.

As discussed in Friday’s Meet & Confer, please provide an estimate as to when Meta can provide a
written response to this set of 36. We are available to meet and confer to facilitate your review.
    Case 1:20-cv-03590-JEB            Document 392-1          Filed 01/16/25       Page 7 of 14


Best,
Thomas

Thomas Mattes
Attorney, Technology Enforcement Division
Federal Trade Commission
202-297-6108 | tmattes@ftc.gov


From: Mattes, Thomas
Sent: Friday, January 10, 2025 6:37 PM
To: Hartman, Jacob E. <jhartman@kellogghansen.com>; Polavarapu, Aaseesh P.
<apolavarapu@kellogghansen.com>; Hansen, Mark C. <mhansen@kellogghansen.com>; Paul, Ana
N. <apaul@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>; Fetterman, Kenneth
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Wint, Corene <cwint@ftc.gov>
Subject: RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Jake,

Thank you for taking the time to discuss the Joint Stipulation of Facts (JSF) during today’s Meet &
Confer.

We remain disappointed by Meta’s failure to engage with the substance of our first set of proposed
stipulations. The FTC sent Meta this first set of 105 proposed facts over three weeks ago on
December 18th. When Meta asked for citations supporting those facts on December 30th, the FTC
provided citations three days later on January 2nd, notwithstanding the intervening holiday. Now,
after another week, we understand that Meta’s position is that the FTC sent an unreasonable
                                                   th
    Case 1:20-cv-03590-JEB              Document 392-1        Filed 01/16/25       Page 8 of 14


number of proposed stipulations on December 18 and that Meta refuses to respond substantively
until the FTC pares down the number of facts to roughly match Meta’s own first set of 36 proposed
facts sent for the first time on January 8th.

We are also disappointed that Meta remains unwilling to discuss, let alone establish, a process for
going forward with the JSF. Our understanding is that Meta is unwilling to provide guidance as to
how long it will take to review even a pared-down set of proposed stipulations from the FTC until it
receives that narrower set. It is likewise disappointing that Meta is unwilling to commit to consider
additional sets of proposed stipulations until it receives this first narrow set.

To be clear, we do not agree that the FTC proposed such an “enormous” number of stipulations as
to impose an unreasonable burden upon Meta. Beyond asserting that some indefinite number of the
FTC’s proposed stipulations are “immaterial,” Meta has provided no indication that it has engaged
substantively with our proposals, despite our best efforts to proceed reasonably and efficiently.

Nevertheless, in the interest of moving forward, we will plan to send Meta a narrower set of
proposed stipulations by early next week. As was suggested, we would ask that Meta provide an
estimate as to when it can provide a written response soon after that. We would be willing to
reciprocate and would also be available to meet and confer regarding an appropriate process for
moving forward beyond these first sets.

Best,
Thomas

Thomas Mattes
Attorney, Technology Enforcement Division
Federal Trade Commission
202-297-6108 | tmattes@ftc.gov


From: Hartman, Jacob E. <jhartman@kellogghansen.com>
Sent: Thursday, January 9, 2025 12:30 PM
To: Mattes, Thomas <tmattes@ftc.gov>; Polavarapu, Aaseesh P.
<apolavarapu@kellogghansen.com>; Hansen, Mark C. <mhansen@kellogghansen.com>; Paul, Ana
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Gillespie, Nataliia <ngillespie@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>
Cc: Dimoscato, Maria <mdimoscato@ftc.gov>; Matheson, Daniel <dmatheson@ftc.gov>; Cerilli,
     Case 1:20-cv-03590-JEB                    Document 392-1               Filed 01/16/25           Page 9 of 14


Krisha <kcerilli@ftc.gov>; Galvan, Patricia V. <PGALVAN@ftc.gov>; Widnell, Nicholas
<nwidnell@ftc.gov>; Smith, Michael <msmith9@ftc.gov>; Zuver, Robert <rzuver@ftc.gov>; Masters,
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Albright, Isaiah <ialbright@ftc.gov>; Edmonds, Lila <ledmonds@ftc.gov>; Gatas Johnson, Alejandra
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Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>; Wint, Corene
<cwint@ftc.gov>
Subject: RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Thomas,
    As I noted in my previous message, we will be prepared to discuss the FTC’s requests on
Friday.

Best,
Jake

Jacob E. Hartman
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
1615 M Street, N.W. | Suite 400 | Washington, DC 20036 | (202) 326-7989


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From: Mattes, Thomas <tmattes@ftc.gov>
Sent: Wednesday, January 8, 2025 6:14 PM
To: Hartman, Jacob E. <jhartman@kellogghansen.com>; Polavarapu, Aaseesh P.
<apolavarapu@kellogghansen.com>; Hansen, Mark C. <mhansen@kellogghansen.com>; Paul, Ana
N. <apaul@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>; Fetterman, Kenneth
M. <kfetterman@kellogghansen.com>; Klineberg, Geoffrey M. <gklineberg@kellogghansen.com>;
Panner, Aaron M. <apanner@kellogghansen.com>; Miller, Kevin J. <kmiller@kellogghansen.com>;
Strikis, Silvija A. <sstrikis@kellogghansen.com>; Hall, Joseph S. <jhall@kellogghansen.com>; Horvitz,
Kevin D. <khorvitz@kellogghansen.com>; Parkinson, Alex A. <aparkinson@kellogghansen.com>;
Mehta, Sonal <Sonal.Mehta@wilmerhale.com>; Gringer, David <David.Gringer@wilmerhale.com>;
'Scheinkman, Michael' <michael.scheinkman@davispolk.com>; Rouhandeh, James
<rouhandeh@davispolk.com>; Marini, Ripton A. <rmarini@kellogghansen.com>; Tapkas, Jason J.
<jtapkas@kellogghansen.com>; Rodriguez, Melissa <mrodriguez@kellogghansen.com>; Jackson,
Kathleen N. <kjackson@kellogghansen.com>; Witebsky, David E. <dwitebsky@kellogghansen.com>;
Gillespie, Nataliia <ngillespie@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>
Cc: Dimoscato, Maria <mdimoscato@ftc.gov>; Matheson, Daniel <dmatheson@ftc.gov>; Cerilli,
Krisha <kcerilli@ftc.gov>; Galvan, Patricia V. <PGALVAN@ftc.gov>; Widnell, Nicholas
<nwidnell@ftc.gov>; Smith, Michael <msmith9@ftc.gov>; Zuver, Robert <rzuver@ftc.gov>; Masters,
Owen <omasters@ftc.gov>; Rashkovich, Benjamin <brashkovich@ftc.gov>; Miller, Noel
<nmiller2@ftc.gov>; Brenner, Nathan <nbrenner@ftc.gov>; Musser, Susan <smusser@ftc.gov>;
   Case 1:20-cv-03590-JEB            Document 392-1          Filed 01/16/25       Page 10 of 14


Albright, Isaiah <ialbright@ftc.gov>; Edmonds, Lila <ledmonds@ftc.gov>; Gatas Johnson, Alejandra
<agatasjohnson@ftc.gov>; Hinson, Hunter <hhinson@ftc.gov>; Lee, Jinwook <jlee9@ftc.gov>;
Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>; Wint, Corene
<cwint@ftc.gov>
Subject: [EXTERNAL] RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Jake,

I understand that the parties plan to meet and confer on Friday about the January JSR, in which the
FTC plans to provide the Court with an update about the status of joint stipulations. To be clear, the
FTC will not be prepared to discuss Meta’s proposed joint stipulations that were transmitted less
than 48 hours before the meet and confer.

That said, we continue to expect Meta’s response no later than tomorrow, January 9, to the FTC’s
first set of proposed stipulations, which were shared in mid-December. Meta has now had over 3
weeks to respond.

Best,
Thomas

Thomas Mattes
Attorney, Technology Enforcement Division
Federal Trade Commission
202-297-6108 | tmattes@ftc.gov



From: Hartman, Jacob E. <jhartman@kellogghansen.com>
Sent: Wednesday, January 8, 2025 4:58 PM
To: Mattes, Thomas <tmattes@ftc.gov>; Polavarapu, Aaseesh P.
<apolavarapu@kellogghansen.com>; Hansen, Mark C. <mhansen@kellogghansen.com>; Paul, Ana
N. <apaul@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>; Fetterman, Kenneth
M. <kfetterman@kellogghansen.com>; gklineberg-contact <gklineberg@kellogghansen.com>;
Panner, Aaron M. <apanner@kellogghansen.com>; Miller, Kevin J. <kmiller@kellogghansen.com>;
Strikis, Silvija A. <sstrikis@kellogghansen.com>; Hall, Joseph S. <jhall@kellogghansen.com>; Horvitz,
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<jtapkas@kellogghansen.com>; Rodriguez, Melissa <mrodriguez@kellogghansen.com>; Jackson,
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Gillespie, Nataliia <ngillespie@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>
Cc: Dimoscato, Maria <mdimoscato@ftc.gov>; Matheson, Daniel <dmatheson@ftc.gov>; Cerilli,
Krisha <kcerilli@ftc.gov>; Galvan, Patricia V. <PGALVAN@ftc.gov>; Widnell, Nicholas
<nwidnell@ftc.gov>; Smith, Michael <msmith9@ftc.gov>; Zuver, Robert <rzuver@ftc.gov>; Masters,
Owen <omasters@ftc.gov>; Rashkovich, Benjamin <brashkovich@ftc.gov>; Miller, Noel
<nmiller2@ftc.gov>; Brenner, Nathan <nbrenner@ftc.gov>; Musser, Susan <smusser@ftc.gov>;
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    Case 1:20-cv-03590-JEB                    Document 392-1               Filed 01/16/25           Page 11 of 14


<agatasjohnson@ftc.gov>; Hinson, Hunter <hhinson@ftc.gov>; Lee, Jinwook <jlee9@ftc.gov>;
Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>; Wint, Corene
<cwint@ftc.gov>
Subject: RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Counsel,
    Please find attached Meta’s first set of proposed facts for joint stipulation, including
citations for each fact. Per Nathan’s email earlier this afternoon, we understand that the FTC
would like to discuss the joint fact stipulations during Friday’s meet and confer. We look
forward to discussing both parties’ proposed stipulations at that time.

Best,
Jake

Jacob E. Hartman
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
1615 M Street, N.W. | Suite 400 | Washington, DC 20036 | (202) 326-7989


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From: Mattes, Thomas <tmattes@ftc.gov>
Sent: Thursday, January 2, 2025 4:01 PM
To: Polavarapu, Aaseesh P. <apolavarapu@kellogghansen.com>; Hansen, Mark C.
<mhansen@kellogghansen.com>; Paul, Ana N. <apaul@kellogghansen.com>; Huff, Kevin B.
<khuff@kellogghansen.com>; Fetterman, Kenneth M. <kfetterman@kellogghansen.com>; Klineberg,
Geoffrey M. <gklineberg@kellogghansen.com>; Panner, Aaron M. <apanner@kellogghansen.com>;
Miller, Kevin J. <kmiller@kellogghansen.com>; Strikis, Silvija A. <sstrikis@kellogghansen.com>; Hall,
Joseph S. <jhall@kellogghansen.com>; Hartman, Jacob E. <jhartman@kellogghansen.com>; Horvitz,
Kevin D. <khorvitz@kellogghansen.com>; Parkinson, Alex A. <aparkinson@kellogghansen.com>;
Mehta, Sonal <Sonal.Mehta@wilmerhale.com>; Gringer, David <David.Gringer@wilmerhale.com>;
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<rouhandeh@davispolk.com>; Marini, Ripton A. <rmarini@kellogghansen.com>; Tapkas, Jason J.
<jtapkas@kellogghansen.com>; Rodriguez, Melissa <mrodriguez@kellogghansen.com>; Jackson,
Kathleen N. <kjackson@kellogghansen.com>; Witebsky, David E. <dwitebsky@kellogghansen.com>;
Gillespie, Nataliia <ngillespie@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>
Cc: Dimoscato, Maria <mdimoscato@ftc.gov>; Matheson, Daniel <dmatheson@ftc.gov>; Cerilli,
Krisha <kcerilli@ftc.gov>; Galvan, Patricia V. <PGALVAN@ftc.gov>; Widnell, Nicholas
<nwidnell@ftc.gov>; Smith, Michael <msmith9@ftc.gov>; Zuver, Robert <rzuver@ftc.gov>; Masters,
Owen <omasters@ftc.gov>; Rashkovich, Benjamin <brashkovich@ftc.gov>; Miller, Noel
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Albright, Isaiah <ialbright@ftc.gov>; Edmonds, Lila <ledmonds@ftc.gov>; Gatas Johnson, Alejandra
<agatasjohnson@ftc.gov>; Hinson, Hunter <hhinson@ftc.gov>; Lee, Jinwook <jlee9@ftc.gov>;
   Case 1:20-cv-03590-JEB            Document 392-1          Filed 01/16/25       Page 12 of 14


Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>; Wint, Corene
<cwint@ftc.gov>
Subject: [EXTERNAL] RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Aaseesh,

We find it disappointing that it took you twelve days to provide any response to the FTC’s proposed
stipulated facts, and that your response failed to provide any position on any of the FTC’s proposed
facts (including such basic facts as “Facebook.com launched in 2004”), and instead requested
something that you could have requested far more promptly. Nonetheless, we have provided the
“pincites” you requested in the attached document, many of which are based on Meta’s proposed
“undisputed” facts in its motion for summary judgment.

Please inform us promptly which of these facts Meta will stipulate to, and which may require edits
before the parties can agree to them. In our view, Meta should be able to provide its positions no
later than Thursday, January 9. If that is not possible, please let us know. We are available to meet
and confer if it would be helpful to discuss.

Please note that we have made minor adjustments to proposed stipulated facts Nos. 21 (changed
“August 2018” to “July 2018”) and 72 (changed “prevalence metrics” to “prevalence”).

Best,
Thomas

Thomas Mattes
Attorney, Technology Enforcement Division
Federal Trade Commission
202-297-6108 | tmattes@ftc.gov



From: Polavarapu, Aaseesh P. <apolavarapu@kellogghansen.com>
Sent: Monday, December 30, 2024 12:58 PM
To: Mattes, Thomas <tmattes@ftc.gov>; Hansen, Mark C. <mhansen@kellogghansen.com>; Paul,
Ana N. <apaul@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>; Fetterman,
Kenneth M. <kfetterman@kellogghansen.com>; gklineberg-contact
<gklineberg@kellogghansen.com>; Panner, Aaron M. <apanner@kellogghansen.com>; Miller, Kevin
J. <kmiller@kellogghansen.com>; Strikis, Silvija A. <sstrikis@kellogghansen.com>; Hall, Joseph S.
<jhall@kellogghansen.com>; Hartman, Jacob E. <jhartman@kellogghansen.com>; Horvitz, Kevin D.
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Michael' <michael.scheinkman@davispolk.com>; Rouhandeh, James <rouhandeh@davispolk.com>;
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<kjackson@kellogghansen.com>; Witebsky, David E. <dwitebsky@kellogghansen.com>; Gillespie,
Nataliia <ngillespie@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>
    Case 1:20-cv-03590-JEB                 Document 392-1              Filed 01/16/25          Page 13 of 14


Cc: Dimoscato, Maria <mdimoscato@ftc.gov>; Matheson, Daniel <dmatheson@ftc.gov>; Cerilli,
Krisha <kcerilli@ftc.gov>; Galvan, Patricia V. <PGALVAN@ftc.gov>; Widnell, Nicholas
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Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>; Wint, Corene
<cwint@ftc.gov>
Subject: RE: FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Counsel,

Thank you for sending the FTC’s proposals. We are considering them. To aid our review,
please provide a citation to the source(s), with pincites, for each of the FTC’s proposed
stipulated facts. We will do the same for any stipulated facts that we propose.

We can discuss a time to meet and confer about the FTC’s proposals, and a time by when
Meta will provide its positions on the FTC’s proposals, after the FTC sends this information.

Thanks,
Aaseesh

Aaseesh P. Polavarapu
KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, PLLC
1615 M Street, NW | Suite 400 | Washington, DC 20036
Tel: (202) 326-7919 | Fax: (202) 326-7999


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From: Mattes, Thomas <tmattes@ftc.gov>
Sent: Wednesday, December 18, 2024 3:35 PM
To: Hansen, Mark C. <mhansen@kellogghansen.com>; Polavarapu, Aaseesh P.
<apolavarapu@kellogghansen.com>; Paul, Ana N. <apaul@kellogghansen.com>; Huff, Kevin B.
<khuff@kellogghansen.com>; Fetterman, Kenneth M. <kfetterman@kellogghansen.com>; Klineberg,
Geoffrey M. <gklineberg@kellogghansen.com>; Panner, Aaron M. <apanner@kellogghansen.com>;
Miller, Kevin J. <kmiller@kellogghansen.com>; Strikis, Silvija A. <sstrikis@kellogghansen.com>; Hall,
Joseph S. <jhall@kellogghansen.com>; Hartman, Jacob E. <jhartman@kellogghansen.com>; Horvitz,
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   Case 1:20-cv-03590-JEB             Document 392-1          Filed 01/16/25      Page 14 of 14


<rouhandeh@davispolk.com>; Marini, Ripton A. <rmarini@kellogghansen.com>; Tapkas, Jason J.
<jtapkas@kellogghansen.com>; Rodriguez, Melissa <mrodriguez@kellogghansen.com>; Jackson,
Kathleen N. <kjackson@kellogghansen.com>; Witebsky, David E. <dwitebsky@kellogghansen.com>;
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Murphy, Quinn <qmurphy@ftc.gov>; Powell, Steven <spowell1@ftc.gov>; Wint, Corene
<cwint@ftc.gov>
Subject: [EXTERNAL] FTC v. Meta Platforms, Inc. 1:20-cv-03590-JEB

Counsel,

Please find attached the FTC’s First Proposed Set of Joint Stipulated Facts.

In addition, we propose that Meta agree to the following stipulation:

“For purposes of the captioned litigation only, if the Court accepts the FTC’s relevant product
market, the United States is a relevant geographic market for that product market.”

We request that Meta identify no later than January 8, 2025 which of the FTC’s First Proposed Set of
Joint Stipulated Facts are agreeable as drafted, and which might require modification in order for the
parties to agree. We have broad availability to meet and confer in the intervening weeks, and
request that Meta identify, no later than January 2, 2025, dates and times during the week of
January 6, 2025 that would be convenient for Meta to discuss these proposed stipulations. The FTC
is also willing to discuss any stipulations that Meta would like to propose.

Best,
Thomas

Thomas Mattes
Attorney, Technology Enforcement Division
Federal Trade Commission
202-297-6108 | tmattes@ftc.gov
